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                                                                   November 5, 2020

      VIA ECF

      Hon. Barbara C. Moses
      United States Magistrate Judge
      United States District Court
      Southern District of New York
      500 Pearl Street
      New York, New York 10007

                    Re: Arias, et al. v. A & J Deli Fish Corp., et al.
                        19 Civ. 04042 (ALC) (BCM)                    .

      Dear Judge Moses:

             We represent plaintiffs Manuel Arias and Daniel Mejia (“Plaintiffs”) in the
      above-referenced matter. We submit this letter to respectfully request an extension of
      time to submit the Proposed Findings of Fact and Conclusions of Law in accordance
      with Your Honor’s Order dated November 2, 2020 (ECF No. 59). We request this
      extension because I, Laura Rodriguez, the principal attorney on this case, will be on
      maternity leave starting Monday, November 9, 2020.

             Your Honor’s Order states that the documents are currently due on January 7,
      2021. We respectfully request that an extension be granted through March 12, 2021 so
      that I may prepare and file the submissions after I return from leave. I have been the
      principal attorney on this case since its filing and am most familiar with the facts, which
      is why I request permission to personally prepare and submit the Proposed Findings of
      Fact and Conclusions of Law after my leave has ended.

             This is the first extension request by either party. Defendants, who are currently
      proceeding pro se, will receive a copy of this letter via U.S. mail to inform them of the
      extension request.

             We thank the Court for its time and attention to this matter.
Application GRANTED. Plaintiffs shall submit the           Respectfully submitted,
Proposed Findings of Fact and Conclusions of Law no
later than March 12, 2021. SO ORDERED.
                                                           Laura Rodriguez
_____________________
Barbara Moses, U.S.M.J.
November 6, 2020
